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16
                       IN THE UNITED STATES DISTRICT COURT
17
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                   SOUTHERN DIVISION
19
     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and             )
     CERCACOR LABORATORIES,                  ) DECLARATION OF MATTHEW
21   INC.,                                   ) PHAM IN SUPPORT OF
     a Delaware corporation                  ) MASIMO’S RESPONSIVE BRIEF
22                                           ) IN SUPPORT OF ITS NOTICE OF
                  Plaintiffs,                ) NOVEMBER 5TH BENCH TRIAL
23                                           )
           v.                                ) Hon. James V. Selna
24                                           )
     APPLE INC., a California corporation    )
25                                           )
                  Defendant.                 )
26                                           )
                                             )
27                                           )
                                             )
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1    I, Matthew Pham, hereby declare as follows:
2          1.     I am an associate in the law firm of Knobbe, Martens, Olson & Bear, LLP,
3    counsel for Plaintiffs Masimo Corporation (“Masimo Corp.”) and Cercacor Laboratories,
4    Inc. (“Cercacor”) (collectively, “Masimo”) in this action. I have personal knowledge of
5    the matters set forth in this declaration and, if called upon as a witness, would testify
6    competently thereto. I submit this Declaration in support of Masimo’s Responsive Brief
7    in Support of its Notice of November 5th Bench Trial.
8          2.     Attached hereto as Exhibit 1 is a true and correct copy of an email chain
9    between counsel for Masimo and counsel for Apple, culminating in an August 21, 2024
10   email from counsel for Masimo to counsel for Apple.
11         3.     Attached hereto as Exhibit 2 is a true and correct copy of the transcript of
12   proceedings held on December 20, 2021, in Masimo Corp. v. True Wearables, Inc.,
13   No.8:18-cv-02001-JVS-JDE.
14         4.     Attached hereto as Exhibit 3 is a true and correct copy of the minute order
15   in Masimo Corp. v. True Wearables, Inc., No.8:18-cv-02001-JVS-JDE, Dkt. 411 (Dec.
16   20, 2021).
17         I declare under the penalty of perjury that the foregoing is true and correct.
18   Executed on August 26, 2024, at Irvine, California.
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                                        Matthew Pham
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